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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION



ERIC GARDNER,
                                              20-CV-11001-TGB-MJH
                  Plaintiff,                        JUDGMENT
          vs.


JOSEPH R. BURTCH and
UNKNOWN PSYCHOLOGIST,


                  Defendants.


     For reasons given in an opinion and order on this date, the

complaint is summarily dismissed under 28 U.S.C. §§ 1915(e)(2)(b) and

1915A(b) for failure to state a plausible claim for relief.

     Dated at Detroit, Michigan, this 30th day of December, 2020.

                                         KINIKIA ESSIX
                                         CLERK OF THE COURT

                                         s/A. Chubb
                                         Case Manager and Deputy Clerk

APPROVED:

s/Terrence G. Berg
HON. TERRENCE G. BERG
UNITED STATES DISTRICT JUDGE
